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   IT IS ORDERED as set forth below:



   Date: July 27, 2020
                                                _____________________________________
                                                           Wendy L. Hagenau
                                                      U.S. Bankruptcy Court Judge

_______________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                      )        CASE NO. 14-51529-WLH
                                            )
RONALD JEAN MARTIN AGENOR and               )
TONYA WILLIAMS AGENOR,                      )        CHAPTER 7
                                            )
         Debtors.                           )
                                            )
                                            )
                                            )
S. GREGORY HAYS, Trustee of the Estate of   )        CONTESTED MATTER
Ronald Jean Martin Agenor and               )
Tonya Williams Agenor,                      )
                                            )
         Objector,                          )
                                            )
         vs.                                )
                                            )
JASON FELDMAN,                              )
                                            )
         Claimant.                          )
                                            )

                          ORDER SUSTAINING OBJECTION
                     TO CLAIM NO. 9-1 FILED BY JASON FELDMAN




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        On June 4, 2020, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estates of Ronald Jean Martin Agenor and Tonya Williams Agenor, filed an objection (the

“Objection”) to Claim No. 9-1 (the “Claim”) filed by Jason Feldman (“Claimant”) and a notice

of requirement of response and notice of hearing (the “Notice”) setting a hearing (the “Hearing”)

on the Objection for July 23, 2020 [Doc. No. 70]. Counsel for Trustee asserts that he served the

Objection and the Notice on all requisite parties in interest. [Doc. No. 70].

        In the Objection, Trustee requested that the Claim be reclassified and allowed as a non-

priority, general unsecured claim in the amount of $17,340.00.

        No party in interest filed a response to the Objection.

        Counsel for Trustee appeared at the calendar call for the Hearing. No creditor or other

party interest appeared at the calendar call for the Hearing.

        The Court having considered the Objection and the entire record in this bankruptcy case

and no parties in interest having filed or served a response to the Objection or appearing at the

Hearing to oppose the relief requested in the Objection; and, for good cause shown, it is hereby

        ORDERED that the Objection is SUSTAINED: Claim No. 9-1 is reclassified and

allowed as a non-priority, general unsecured claim in the amount of $17,340.00.

                                     [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

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Identification of parties to be served:

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362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

Tonya Williams Agenor
20533 Biscayne Blvd #119
Aventura, FL 33180

Ronald Jean Martin Agenor
20533 Biscayne Blvd #119
Aventura, FL 33180

Jason Feldman
825 Bass Landing Pl
Greensboro, NC 27455

Jason Feldman
6092 Delshire Ct
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